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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 ELI LILLY AND COMPANY,

        Plaintiff,

        v.
                                                        Civil Action No. 24-3220 (DLF)
 ROBERT F. KENNEDY, JR., Secretary of
 Health and Human Services et al., et al.,

                Defendants.


 BRISTOL MYERS SQUIBB COMPANY,

                Plaintiff,

        v.
                                                        Civil Action No. 24-3337 (DLF)
 ROBERT F. KENNEDY, JR, Secretary of
 Health and Human Services et al.,

                Defendants.


NOVARTIS PHARMACUTICALS CORP,

               Plaintiff,

       v.                                               Civil Action No. 25-0117 (DLF)
ROBERT F. KENNEDY, JR, Secretary of
Health and Human Services et al.,

               Defendants.


                                    [PROPOSED] ORDER

       UPON CONSIDERATION of Defendants’ motion for summary judgment, Plaintiffs’

cross motions for summary judgment and the entire record herein, it is hereby

       ORDERED that Defendants’ motion is GRANTED, and it is further
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      ORDERED that Plaintiffs’ motions are DENIED, and it is further

      ORDERED that judgment shall be entered in favor of Defendants and against Plaintiffs.



SO ORDERED:



________________                                 ___________________________________
Date                                             DABNEY L. FRIEDRICH
                                                 United States District Judge




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